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                        IN THE UNITED            STATES DISTRICT COURT
                       FOR THE          EASTERN DISTRICT OF VIRGINIA                       CLERK, U.S. DISTRICT COURT
                                                                                                      RICHMOND, VA
                                         Richmond Division


UNITED STATES OF AMERICA


v.                                                           Criminal Action No.           3:09CR154


CALDON MINOR


                                         MEMORANDUM OPINION


       Caldon Minor,            a       federal    inmate proceeding pro                  se,     brings

this motion pursuant to 28 U.S. C.                           § 2255     ("§ 2255 Motion," ECF

No.    85) .     The    Government has moved to dismiss,                            inter alia,               on

the    ground     that     the          statute    of        limitations          bars    the     §     2255

Motion.         Minor    has    not       responded.            For    the    reasons       set        forth

below,    the     §    2255     Motion          will    be    dismissed       as     barred       by      the

statute of limitations.



                                    I.     PROCEDURAL HISTORY


       Minor pled guilty to possession with intent to distribute

more    than five        grams of cocaine base.                        (Plea Agreement 1,                 ECF

No. 27.)        On March 16, 2010,                the Court entered judgment against

Minor and sentenced him to 240 months of                                imprisonment.             (J.         2,

ECF No.    52.)        Minor did not appeal.

       On August         13,    2012,       Minor executed and placed his                             § 2255

Motion     in    prison       mail       system        for    transmission          to    this        Court.

The    Court    deems     the       §    2255    Motion       filed as       of    that   date.           See

Houston v.       Lack,    487 U.S.         266,    276       (1988).
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       In his       § 2255      Motion,        Minor asserts         that       in light of       the

decision     in United         States     v.     Simmons,      649    F.3d.       237    (4th Cir.

2011), his two "prior conviction[s]                      ....          shouldn't have been

used against me           to make me            qualify for a sentence enhancement

under the Career Offender" guidelines.                         (§ 2255 Mot. 15.J1


                                         II.     ANALYSIS


       A.     Guidelines Claims Not Cognizable In § 2255

       Minor's challenge to the calculation of his sentence under

the guidelines           fails    to state a cognizable                    claim     for      § 2255

relief.      See United States v. Pregent,                    190 F.3d 279,             283-84    (4th

Cir.        1999)         (explaining             that         "barring            extraordinary

circumstances"           an error in calculation of                  Sentencing Guidelines

not cognizable in a § 2255 motion) ; see also United States v.

Goines,     357     F.3d 469,      477      (4th Cir.         2004)    (citations            omitted)

("guideline         claims      ordinarily         are    not     cognizable            in    §   2255

proceedings.");           Milan v.       United States,                    F.    Supp.       3d      ,

No. I:09cr228,           2014 WL 5454394,             at *5    (E.D. Va.         Oct.    24, 2014)

(challenge        to      criminal       history        category       not        cognizable        in

§ 2255); cf. Hawkins v. United States,                        706 F.3d 820, 823-24                (7th

Cir.   2013),       cert,      denied,     134    S.    Ct.   1280    (2014);       Sun Bear v.

United States,           644    F.3d     700,    705-06       (8th Cir.         2011)     (en banc)

(challenges         to    career       offender        status     under          guidelines        not

cognizable        in      §    2255).           Minor     fails       to        demonstrate        any

       1 The Court employs the pagination assigned by the CM/ECF
docketing system to Minor's submission.
                                                  2
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extraordinary circumstances that would allow the Court to reach

the validity of the guidelines sentence at this late juncture.

For this reason alone, Minor's § 2255 Motion will be denied.

     B.     Statute Of Limitations


     Section      101   of   the        Antiterrorism    and   Effective    Death

Penalty Act ("AEDPA")        amended 28 U.S.C.          § 2255 to establish a

one-year period of limitation for the filing of a § 2255 Motion.

Specifically, 28 U.S.C. § 2255(f) now reads:

     (f)    A   1-year period of          limitation shall     apply to a
            motion under this section.             The limitation period
            shall run from the latest of—


            (1)   the    date      on     which   the   judgment   of
                  conviction becomes final;

            (2)   the date on which the impediment to
                  making a motion created by governmental
                  action in violation of the Constitution
                  or   laws  of  the  United  States   is
                  removed,  if the movant was             prevented
                  from   making    a   motion             by   such
                  governmental action;

            (3)   the date on which the right asserted
                  was initially recognized by the Supreme
                  Court,  if that right has been newly
                  recognized by the Supreme Court and
                  made retroactively applicable to cases
                  on collateral review; or

            (4)   the date on which the facts supporting
                  the claim or claims presented could
                  have   been   discovered   through the
                  exercise of due diligence.

28 U.S.C.   § 2255(f).
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       Because Minor did not appeal,                     under 28 U.S.C.             § 2255(f)(1),

his conviction became final on Monday,                           April       5,    2010,       the last

date     to    file     an    appeal.          See        United        States          v.     Clayton,

No. 3:07cr488,         2010 WL 4735762,             at    *3    (E.D.       Va.    Nov.       15,    2010)

(citing Arnette v. United States, Nos. 4:01CR16,                                   4:04CV122,         2005

WL   1026711,     at    *4     (E.D.    Va.    May       2,     2005));       Fed.       R.    App.     P.

4(b)(1)(A)            (requiring       defendant          to     file        an     appeal          within

fourteen (14)         days of the entry of judgment) .                            Hence,      Minor had

until Tuesday,         April 5,      2011 to file any motion under 28 U.S.C.

§ 2255.        Because       Minor     did    not    file       his     §    2255       Motion       until

nearly    a    year     and    a     half     after       that       date,        the      statute      of

limitations      bars        the   § 2255      Motion          unless       Minor       demonstrates

entitlement      to a     belated commencement of                     the    limitation period

under 28 U.S.C. § 2255 (f) (2)-(4) or equitable tolling.

       Minor      seeks        belated         commencement                 under         28        U.S.C.


§ 2255(f) (3) based on the United States Court of Appeals for the

Fourth Circuit's         decision in United States v.                        Simmons,          649    F.3d

237 (4th Cir. 2011).2


       2 In Simmons,          the United States Court of Appeals for the
Fourth    Circuit      addressed        the    method          for    determining            whether     a
prior conviction is considered a "felony" conviction punishable
by a term of more than one year. Simmons, 64 9 F.3d 243-35. The
Fourth Circuit


       overruled prior decisions and held that, in deciding
       whether to enhance federal sentences based on prior
       North Carolina convictions,                  we look not to the maximum
       sentence that North Carolina courts could have imposed
       for a hypothetical defendant who was guilty of an
       aggravated offense or had a prior criminal record, but
                                                4
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       A § 2255 petitioner may obtain a belated commencement of

the limitation period to "the date on which the right asserted

was initially recognized by the Supreme Court, if that right has

been      newly          recognized              by        the        Supreme          Court        and      made

retroactively applicable                        to cases on                collateral      review."              28

U.S.C.    §    2255(f)(3).                 To    the       extent       Minor        argues     that       he    is

entitled      to     a    belated         commencement                under      §   2255(f)(3)           because

Simmons was          a    "right          [that]      has been newly recognized by                              the

Supreme       Court       and       made       retroactively               applicable          to    cases       on

collateral          review"         he    is     incorrect.                Id.       Simmons        "is    not    a

Supreme       Court        decision            recognizing             a     new       right,       [thus]       it

likewise       cannot          be    invoked          in       connection        with     the       limitation

period onset             contemplated by               § 2255(f)(3)."                   United States v.

Bowman,       561    F.    App'x          294,     298         (4th    Cir.      2014) .        Thus,       Minor

lacks     entitlement                to    a     belated              commencement         period           under

Simmons.       Accordingly,               the statute of limitations bars Minor's §

2255 Motion.3



        rather       to    the       maximum       sentence            that      could    have      been
        imposed on a person with the defendant's actual level
        of aggravation and criminal history.

United     States         v.     Powell,         691       F.3d       554,       556    (4th    Cir.        2012)
(emphasis omitted)                  (citing Simmons,             649 F.3d at 241).

        3 Even if Simmons applied retroactively to Minor's § 2255
Motion,    it entitles Minor to no relief.                                  Minor was found to be a
career offender based on two prior felony drug convictions in
which he received a sentence of more than one year.   His career
offender designation was based on a February 22, 1996 conviction
of possession of cocaine with intent to distribute to which he
was sentenced to five years of imprisonment with four years and
                                                           5
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                                     III.    CONCLUSION


        For    the   foregoing       reasons,          Clarke's        §     2255    Motion     (ECF

No.   85)     will   be    denied.      The      action         will    be      dismissed.       The

Court will deny a certificate of appealability.

        The    Clerk      is   directed     to       send   a    copy      of     the    Memorandum

Opinion to Clarke and counsel for the Government.



                                                          /s/                       /££/
                                             Robert E. Payne
                                             Senior United States District Judge



Date: /U.GC/ &/ k?/ *
Richmond, Virginia




eight    months      suspended,      and     a       January     15,       2002     conviction    of
possession of cocaine with intent to distribute to which he was
sentenced       to     five     years       with       four      years        and       two   months
suspended.       (See Presentence Report HH 35, 46, 64.)
                                                 6
